         Case 1:18-cv-08855-LGS-SN Document 47 Filed 07/09/19 Page 1 of 1



                         PECHMAN LAW GROUP PLLC
                           A T T O R N E Y S        AT   L A W
                                  488 MADISON AVENUE
                                NEW YORK, NEW YORK 10022
                                      (212) 583-9500
                                 WWW.PECHMANLAW.COM

                                                         July 9, 2019

VIA ECF

Honorable Lorna G. Schofield
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:    Espinosa v. Abraham Refrigeration A/C Corp.,
                      No. 18 Civ. 8855 (LGS) (SN) – Joint Letter

Dear Judge Schofield:

       We represent Plaintiff Ysael Espinosa in the above-referenced matter. Together
with defense counsel, Adam C. Weiss of the Law Firm of Adam C. Weiss, PLLC, the
Parties inform the Court that Plaintiff’s counsel will file an application for attorneys’ fees
and costs (the “Application”). The Parties propose the following briefing schedule for
the Application:

      1) Application due by July 26, 2019;
      2) Response to Application due by August 16, 2019; and
      3) Reply to Response due by August 30, 2019.

       The Parties thank the Court for its time and attention to this matter. Counsel are
available if the Court needs any additional information.

                                                         Respectfully submitted,


                                                         s/ Gianfranco J. Cuadra
                                                         Gianfranco J. Cuadra

cc:      Adam C. Weiss, Esq. (via ECF)
